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                                                            November 18, 2020

BY ECF AND FEDEX
Angela D. Caesar
Clerk
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

       Re: Butler, et al. v. Democratic People’s Republic of Korea
           Docket no. 1:20-cv-02514

Dear Ms. Caesar:
       We represent the plaintiffs in the above-captioned matter. I write to request that the Clerk effect
service pursuant to 28 U.S.C. § 1608(a)(3) on Defendant Democratic People’s Republic of Korea
(“North Korea”), which is a “foreign state” for the purposes of 28 U.S.C. § 1608(a)(3).
       I request that the Clerk dispatch the alternative means of service provided for under 28 U.S.C.
§ 1608(a)(3), which applies when service cannot be made under U.S.C. § 1608(a)(1) and U.S.C.
§ 1608(a)(2).
        Accordingly, please find enclosed a copy of the ECF Notice of Electronic Filing of this letter and
a set of documents collated and ready for service to be served on the defendant North Korea. The set of
documents contains:
       1.      The summons in this action addressed to Democratic People’s Republic of Korea with a
               translation thereof into Korean.
       2.      The Complaint in this action together with a translation thereof into Korean.
       3.      The Notice of Suit together with a translation thereof into Korean.
       4.      A copy of the FSIA as currently in force.
       5.      A copy of the Standing Order in Civil Cases.
        Please take the necessary steps to dispatch these materials to the head of the Ministry of Foreign
Affairs of the Democratic People’s Republic of Korea pursuant to 28 U.S.C. § 1608(a)(3).
       We ask that service be made by United States Postal Services Registered mail.
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       If there is any reason why service by mail cannot be accomplished, please advise and we will re-
submit this request as a request for service by diplomatic service.
       Once dispatched, kindly have the appropriate docket entry made.
       Thank you for your consideration.


                                                   Very truly yours,


                                                   Robert J. Tolchin


Enclosures
